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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                      §       Chapter 11
                                                                §
                                                                §       Case No. 23-11069 (CTG)
                                                                §
    YELLOW CORPORATION, et al.,1                                §       Jointly Administered
                                                                §
                                                                §
                                                                §
                                                                §
             Debtors.                                           §       RE: Docket No. 968

                         OBJECTION AND RESERVATION OF RIGHTS OF
                             EDINBURGH LOGISTICS ASSETS LLC

             Edinburgh Logistics Assets LLC (“Edinburgh”), by its undersigned counsel, files its

Objection and Reservation of Rights (the “Objection”) to the Notice of Potential Assumption or

Assumption and Assignment of Certain Contracts or Leases Associated with the Non-Rolling Stock

Assets (the “Cure Notice”) [Docket No. 968] filed by the Debtors, and in support thereof would

respectfully show as follows:

                                                        I.
                                                    OBJECTION

             1.      On or about May 21, 2009, NATMI Truck Terminals, LLC, predecessor-in-interest

to Edinburgh, entered into that certain Lease Agreement (the “Lease Agreement”) with the Debtor

YRC Inc. as tenant for the lease of certain premises constituting a motor freight terminal located

at 9415 Wallisville Road, Houston, Texas as more particularly described on Exhibit “A” to the




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 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place of business and the
Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue, Overland Park, Kansas 66211.




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Lease (the “Premises”). The Lease Agreement and any amendments and modifications thereto are

referred to collectively herein as the “Lease.”

         2.          On or about August 6, 2023 (the “Petition Date”), the above-captioned debtors and

debtors-in-possession (the “Debtors”) filed voluntary petitions for relief under Chapter 11 of title

11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for

the District of Delaware (the “Bankruptcy Court”).

         3.          On October 26, 2023, the Debtors filed the Cure Notice. In the Cure Notice, the

Debtors list an incorrect cure amount for Edinburgh of $59,902.00.

         4.          Edinburgh objects to the cure amount set forth in the Cure Notice as not

encompassing all cure obligations under the Lease. Currently, the Debtors are in monetary default

to Edinburgh in at least the amount of $104,316.96.

         5.          The amount necessary to cure monetary defaults under the Lease may increase prior

to the actual assumption of the Lease if the Debtors do not pay all amounts that accrue prior to

assumption of the Lease. Any assumption and assignment of the Lease must be conditioned upon

full compliance with section 365 of the Bankruptcy Code, including, but not limited to, the

payment to Edinburgh of all amounts due and owing under the Lease through the effective date of

the assumption of the Lease.

         6.          In addition, the Cure Notice also does not address amounts that are not currently

due and payable but that may become due and payable post-assumption and assignment which

relate back to the pre-assumption and assignment time period. There are additional amounts that

have and may accrue under the Lease between now and a future date of assumption that must be



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paid or reserved for by Bankruptcy Court order as part of any cure, assumption and/or assignment

of the Lease.

         7.          The Lease provides that the tenant shall indemnify and hold Edinburgh harmless

with respect to certain claims which may not become known until after the assumption of the

Lease, examples of which may include claims for personal injuries or damage to the Premises by

the tenant or its agents and environmental damage or cleanup. Any assumption and assignment of

the Lease must be pursuant to the terms of the Lease, including the assumption of all

indemnification obligations, regardless of when they arose.

         8.          Any order approving the sale and assumption and assignment of the Lease must

provide that the proposed assignee is liable as part of the cure for the following pursuant to the

terms of the Lease regardless of when the charges accrued: (i) pre-petition and post-petition rent

and other charges due under the Lease, (ii) amounts due and owing under the Lease which may be

unbilled as of the date of assumption, including, but not limited to, year-end adjustments for

common area maintenance expenses, taxes and similar charges, (iii) any regular or periodic

adjustments under the Lease which were not due or had not been determined as of the date of this

Objection, (iv) any non-monetary defaults, (v) insurance and indemnification obligations under

the Lease, and (vi) deferred maintenance.

         9.          The Lease provides for the payment of attorneys’ fees by tenant under certain

circumstances. Edinburgh’s attorneys’ fees should be paid as part of any cure.

         10.         To date no assignee for the Lease has been identified and no proof of adequate

assurance has been provided to Edinburgh. Therefore, Edinburgh is unable to determine whether

any proposed assignee will comply with all requirements of section 365 of the Bankruptcy Code,

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including with regard to providing adequate assurance of future performance, and reserves the

right to object to any potential assignment.

                                               II.
                                      RESERVATION OF RIGHTS

         11.         Edinburgh reserves the right to assert additional amounts, true-ups, year-end

 adjustments, and reconciliations that have not yet come due, but that may come due and have to

 be calculated.

         12.         Edinburgh reserves the right to amend and/or supplement this Objection, including,

 without limitation, adding and supplementing objections to the Cure Notice, or amending and/or

 supplementing the cure amounts.

         WHEREFORE, Edinburgh respectfully requests that the Bankruptcy Court sustain its

objections to the Cure Notice, require that the full amount asserted herein is paid

contemporaneously with any assumption, require that any additional amounts asserted by

Edinburgh be paid prior to any assumption, and for such other and further relief to which

Edinburgh may show itself to be justly entitled at law or in equity.




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Dated: November 9, 2023                 MONTGOMERY McCRACKEN WALKER &
       Wilmington, Delaware             RHOADS LLP

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                                        ATTORNEYS FOR EDINBURGH LOGISTICS ASSETS LLC




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